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                                                                                                         E-FILED
                                                                            Friday, 21 May, 2021 11:14:19 AM
                                                                                Clerk, U.S. District Court, ILCD


                         IN THE UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF ILLINOIS - URBANA

 STEPHEN ORENIC,

                        Plaintiff,

       vs.                                                            21-cv-2111

 MENARD, INC., a Foreign Corporation
 (d/b/a Menards)

                        Defendant.

                                  NOTICE OF REMOVAL
        THE DEFENDANT, MENARD, INC., a foreign Corporation, by its attorneys, QUINN

JOHNSTON, pursuant to 28 U.S.C. §1441 et. seq., hereby petitions to remove this action from the

Circuit Court of the Sixth Judicial Circuit, Champaign County, Illinois, to the United States District

Court for the Central District of Illinois, Urbana Division. In support, Defendant states:

        1.     On or about May 5, 2021, Stephen Orenic, filed a Complaint against Defendant,

Menard, Inc., a Foreign Corporation (d/b/a Menards) in Champaign County, Illinois.

        2.     Defendant was served through its registered agent on May 13, 2021. Copies of the

Summons and Complaint served upon Defendant are attached as Exhibit A.

        3.     Upon information and belief, Plaintiff is a resident and citizen of the State of

Illinois.

        4.     Defendant is a Wisconsin corporation with its principal place of business in

Wisconsin.

        5.     The claim alleged in Plaintiff’s Complaint arises out of an occurrence in

Champaign, Champaign County, Illinois.
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         6.    Plaintiff, Stephen Orenic, claims that he “suffered severe and permanent injuries to

his shoulder and arm” and that he “was caused to expend, and in the future will be compelled to

expend, large sums of money for medical care in endeavoring to be cured of said injuries.” (Ex.

A). Plaintiff, Stephen Orenic sought judgment in excess of the jurisdictional limit of $50,000.00.

(Ex. A).

         7.    Based on the nature of Plaintiff’s complained of injuries, and the language of his

Complaint, it appears that Plaintiff seeks damages in an amount in excess of the jurisdictional

requirement of $75,000.00.

         10.   This court has original jurisdiction of the matters alleged in Plaintiff’s Complaint

pursuant to 28 U.S.C. § 1332. The matter is subject to removal by Defendant pursuant to 28 U.S.C.

§ 1441.

         11.   Defendant’s Notice of Removal is timely pursuant to 28 U.S.C § 1446(b) in that it

is filed within thirty (30) days of service of Summons.

         12.   Pursuant to 28 U.S.C. § 1446(d), Defendant is giving written notice of the filing of

this Petition for Removal to all adverse parties and will file a copy of this Petition for Removal

with the Clerk of the Circuit Court of Kankakee County, Illinois, thereby effecting removal to this

court.

         WHEREFORE, the Defendant, MENARD, INC., a foreign Corporation (d/b/a Menards),

prays that the above action now pending against it in the Circuit Court of Champaign County,

Illinois, be removed therefrom to this court.




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                                         MENARD, INC., a Foreign Corporation,
                                         Defendant

                                        By:______________________________________
                                                    Adam P. Chaddock
                                                    For Quinn Johnston

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                                  CERTIFICATE OF SERVICE

I hereby certify that on May 21, 2021, I electronically filed this NOTICE OF REMOVAL with
the Clerk of Court using the CM/ECF system, which will send notification of such filing to the
following:

         Alison D. Kimble                                        Attorneys for Plaintiff
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         Danville, IL 61832
         Phone: 217-443-4343
         Email: akimble@spiroslaw.com



                            s/Adam P. Chaddock
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